         Case 3:09-cr-00375-JLS                       Document 75                Filed 04/13/11               PageID.184              Page 1 of 4


     <l>.A0245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 1
                                                                                                                           l
                                              UNITED STATES DISTItICTCeHJitt: t,
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMl~~"'yCASE
                                        v.                                        (For Otfenses Committed On or AfferNovember I, 1987)

                       EDWARD SAMBRANO (I)                                         Case Number: 09CR0375-JLS
                                                                                   JACK 1. BOLTAX
                                                                                   Defendant's Attorney
    REGISTRATION NO. 14169298

    D
     THE DEFENDANT:
     I?5l pleaded guilty to count(s)          ONE OF THE TWO COUNT INDICTMENT

     D was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the derendant is adjudged guilty of such count(s), which involve the tollowing offense(s):
                                                                                                                                              Count
     Title & Section                         Nature of Offense                                                                             Number(s)
21 USC 841 (a)(1), 846               CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                    1




              The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)
   1?51 Count(s)    two of the Indictment                                         is [8] areD dismissed on the motion of the United States.
   1?51 Assessment: $100.00 IMPOSED

   1?51 Fine waived                                  D Property forfeited pursuant to order filed -----­ included herein.
              IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name. residence,
       or mailing address until all flnes. restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notifY the court and United Statcs Attorney of any material change in the defendant's economic circumstances.
                                                                                    APRIL 8, 2011
                                                                                   Date of Imposition of Sentence




                                                                                     NITED STATES DISTRICT JUDGE



                                                                                                                                               09CR0375-JLS
Case 3:09-cr-00375-JLS   Document 75   Filed 04/13/11   PageID.185   Page 2 of 4
Case 3:09-cr-00375-JLS   Document 75   Filed 04/13/11   PageID.186   Page 3 of 4
Case 3:09-cr-00375-JLS   Document 75   Filed 04/13/11   PageID.187   Page 4 of 4
